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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                     4:14CR3114
       vs.
                                                                        ORDER
SONIA HERNANDEZ, AND FREDDY
HERNANDEZ JR.,

                      Defendants.


       Defendant Sonia Hernandez has moved to continue the trial currently set for December
14, 2015. (Filing No. 97). As explained in the motion, defense counsel is not available during
the current trial setting. The motion to continue is unopposed. Based on the showing set forth in
the motion, the court finds the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)      Defendant Sonia Hernandez’ motion to continue, (filing no. 97), is granted.

       2)     As to both defendants, the trial of this case is set to commence before the
              Honorable John M. Gerrard, United States District Judge, in Courtroom 1, United
              States Courthouse, Lincoln, Nebraska, at 9:00 a.m. on January 25, 2016, or as
              soon thereafter as the case may be called, for a duration of five (5) trial days. Jury
              selection will be held at commencement of trial.

       3)     Based upon the showing set forth in the defendant Sonia Hernandez’s motion and
              the representations of counsel, the Court further finds that the ends of justice will
              be served by continuing the trial; and that the purposes served by continuing the
              trial date in this case outweigh the interest of the defendant and the public in a
              speedy trial. Accordingly, as to both defendants, the additional time arising as a
              result of the granting of the motion, the time between today’s date and January 25,
              2016, shall be deemed excludable time in any computation of time under the
              requirements of the Speedy Trial Act, because despite counsel’s due diligence,
              additional time is needed to adequately prepare this case for trial and failing to
              grant additional time might result in a miscarriage of justice. 18 U.S.C. §
              3161(h)(1), (h)(6) & (h)(7).


              November 25, 2015.
                                                     BY THE COURT:
                                                     s/ Cheryl R. Zwart
                                                     United States Magistrate Judge
